          Case 23-12825-MBK                       Doc 1       Filed 04/04/23 Entered 04/04/23 16:00:03                            Desc Main
                                                             Document      Page 1 of 24
 Fill in this information to identify the case:

 United States Bankruptcy Court for the:


                                  1HZ-HUVH\
 ____________________ District of _________________
                                        (State)
 Case number (If known): _________________________ Chapter 
                                                           _____                                                                    Check if this is an
                                                                                                                                       amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                           /7/0DQDJHPHQW//&
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used              IND&KHQDQJR2QH//&
                                              ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer                
                                              ___  ___ – ___ ___ ___ ___ ___ ___ ___
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                 Mailing address, if different from principal place
                                                                                                          of business

                                              *HRUJH6WUHHW
                                              ______________________________________________              _______________________________________________
                                              Number        Street                                        Number     Street

                                              ______________________________________________              _______________________________________________
                                                                                                          P.O. Box

                                              1HZ%UXQVZLFN1-
                                              ______________________________________________              _______________________________________________
                                              City                          State       ZIP Code          City                      State      ZIP Code


                                                                                                          Location of principal assets, if different from
                                                                                                          principal place of business
                                              0LGGOHVH[
                                              ______________________________________________
                                              County                                                      _______________________________________________
                                                                                                          Number     Street

                                                                                                          _______________________________________________

                                                                                                                                   1RUWK&DUROLQD
                                                                                                          _______________________________________________
                                                                                                          City                      State      ZIP Code




 5.   Debtor’s website (URL)                  KWWSVGPHSLTFRP/7/
                                              ____________________________________________________________________________________________________




Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                            page 1
          Case 23-12825-MBK                Doc 1         Filed 04/04/23 Entered 04/04/23 16:00:03                              Desc Main
                                                        Document      Page 2 of 24
Debtor        /7/0DQDJHPHQW//&
              _______________________________________________________                        Case number (if known)_____________________________________
              Name




 6.   Type of debtor                       Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                           Partnership (excluding LLP)
                                           Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                          B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                              
                                             ___  ___ ___ ___

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                       Chapter 7
                                           Chapter 9
                                           Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                              aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                          affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                         recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                          income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                            11 U.S.C. § 1116(1)(B).
      check the second sub-box.                            
                                                            The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                               noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                               less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                               Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                               statement of operations, cash-flow statement, and federal income tax return, or if
                                                               any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                               § 1116(1)(B).

                                                            A plan is being filed with this petition.
                                                            Acceptances of the plan were solicited prepetition from one or more classes of
                                                               creditors, in accordance with 11 U.S.C. § 1126(b).

                                                            The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                               Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                               Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                               for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                            The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                               12b-2.
                                           Chapter 12




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 2
          Case 23-12825-MBK                Doc 1       Filed 04/04/23 Entered 04/04/23 16:00:03                                Desc Main
                                                      Document      Page 3 of 24
Debtor          /7/0DQDJHPHQW//&
               _______________________________________________________                      Case number (if known)_____________________________________
               Name



 9.   Were prior bankruptcy cases         No
      filed by or against the debtor                      1RUWK&DUROLQD
      within the last 8 years?            Yes. District _______________________
                                                          1HZ-HUVH\                    Case number _________________________
                                                                                 When _______________             0%.
                                                                                             MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

 10. Are any bankruptcy cases             No
      pending or being filed by a
      business partner or an              Yes. Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                     District _____________________________________________ When               __________________
      List all cases. If more than 1,                                                                                        MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________



 11. Why is the case filed in this       Check all that apply:
      district?
                                          Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                             district.

                                          A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12. Does the debtor own or have          No
      possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard? _____________________________________________________________________

                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                      attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                      assets or other options).

                                                   Other _______________________________________________________________________________


                                                  Where is the property?_____________________________________________________________________
                                                                            Number          Street

                                                                            ____________________________________________________________________

                                                                            _______________________________________         _______ ________________
                                                                            City                                            State ZIP Code


                                                  Is the property insured?

                                                   No
                                                   Yes. Insurance agency ____________________________________________________________________
                                                           Contact name     ____________________________________________________________________

                                                           Phone            ________________________________




              Statistical and administrative information




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 3
Case 23-12825-MBK   Doc 1    Filed 04/04/23 Entered 04/04/23 16:00:03   Desc Main
                            Document      Page 4 of 24
         Case 23-12825-MBK              Doc 1       Filed 04/04/23 Entered 04/04/23 16:00:03                               Desc Main
                                                   Document      Page 5 of 24
Debtor       /7/0DQDJHPHQW//&
            _______________________________________________________                     Case number (if known)_____________________________________
            Name




 18. Signature of attorney
                                      8 V3DXO5'H)LOLSSR
                                          _____________________________________________            Date          
                                                                                                              _____   
                                                                                                                    ____ ________
                                          Signature of attorney for debtor                                    MM     / DD / YYYY



                                          Paul R. DeFilippo
                                         _________________________________________________________________________________________________
                                         Printed name
                                          Wollmuth Maher & Deutsch LLP
                                         _________________________________________________________________________________________________
                                         Firm name
                                         500         Fifth Avenue
                                         _________________________________________________________________________________________________
                                         Number     Street
                                          New York
                                         ____________________________________________________             NY
                                                                                                         ____________  10110
                                                                                                                      ______________________________
                                         City                                                            State        ZIP Code

                                          (212) 382-3300
                                         ____________________________________                             pdefilippo@wmd-law.com
                                                                                                         __________________________________________
                                         Contact phone                                                   Email address



                                          015721978
                                         ______________________________________________________  NJ
                                                                                                ____________
                                         Bar number                                             State




 Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                              page 5
Case 23-12825-MBK         Doc 1    Filed 04/04/23 Entered 04/04/23 16:00:03             Desc Main
                                  Document      Page 6 of 24



                               SECRETARY’S CERTIFICATE

                                           April 4, 2023

        John K. Kim, in his capacity as Secretary of LTL Management LLC, a North Carolina
limited liability company (the “Company”), hereby certifies that (1) the resolutions attached hereto
as Exhibit A (the “Resolutions”) are a complete and accurate copy of the resolutions adopted on
April 2, 2023 by the board of managers of the Company related to the authorization of the
Company to file a voluntary petition for relief under chapter 11 of title 11 of the United States
Code in the United States Bankruptcy Court for the District of New Jersey (the “Chapter 11 Case”)
and (2) all the Resolutions are in full force and effect and are all the resolutions adopted in
connection with the filing of the Chapter 11 Case as of the date hereof.



                                  [SIGNATURE PAGE FOLLOWS]




NAI-1535654442
Case 23-12825-MBK   Doc 1    Filed 04/04/23 Entered 04/04/23 16:00:03   Desc Main
                            Document      Page 7 of 24
Case 23-12825-MBK   Doc 1    Filed 04/04/23 Entered 04/04/23 16:00:03   Desc Main
                            Document      Page 8 of 24



                                  EXHIBIT A

                                   Resolutions




NAI-1535654442
Case 23-12825-MBK         Doc 1    Filed 04/04/23 Entered 04/04/23 16:00:03             Desc Main
                                  Document      Page 9 of 24



                                  LTL MANAGEMENT LLC

                                           Resolutions

                                           April 2, 2023

        WHEREAS, on October 12, 2021, the former Johnson & Johnson Consumer Inc. (“Old
JJCI”) implemented a corporate restructuring (the “2021 Corporate Restructuring”) to facilitate
full, permanent and equitable resolution of all current and future talc claims through a
reorganization under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”);

        WHEREAS, (1) prior to the 2021 Corporate Restructuring, (a) effective January 1, 1979,
Johnson &Johnson and Johnson & Johnson Baby Products Company (“J&J Baby Products”)
entered into an Agreement for Transfer of Assets and Bill of Sale (the “1979 Agreement”),
pursuant to which (i) J&J transferred to J&J Baby Products all assets and liabilities then
allocated on the books or records of J&J to its baby products operating division and (ii) J&J
Baby Products agreed, on behalf of itself and its successors and assigns, to forever indemnify
and hold harmless J&J against all such liabilities of every kind and description, and (b) through a
series of subsequent corporate transactions that occurred between 1981 and 2015, Old JJCI
succeeded to J&J Baby Products’ rights and obligations under the 1979 Agreement, and (2) as a
result thereof, from and after January 1, 1979, Old JJCI (including for such purpose its
predecessors in interest) bore all financial responsibility for and paid (as reflected in Old JJCI’s
books and records) all talc claims related to JOHNSON’S® Baby Powder;

         WHEREAS, pursuant to the 2021 Corporate Restructuring, (1) Old JJCI ceased to exist
and LTL Management LLC, a North Carolina limited liability company (the “Company”), and
Johnson & Johnson Holdco (NA) Inc., a New Jersey corporation formerly named Johnson &
Johnson Consumer Inc. (“Holdco”), were created and (2) the Company received Old JJCI’s
liability for current and future talc claims and certain assets and Holdco received all other
liabilities and assets of Old JJCI;

        WHEREAS, as part of the 2021 Corporate Restructuring, (1) the Company, Holdco and
J&J entered into the Amended and Restated Funding Agreement, dated October 12, 2021 (the
“2021 Funding Agreement”), pursuant to which, on the terms and subject to the conditions set
forth therein, Holdco and J&J agreed to provide, on a joint and several basis, funding to the
Company for specified uses and (2) Holdco and J&J entered into the Amended and Restated
Commitment and Loan Agreement, dated October 12, 2021 (the “2021 Commitment and Loan
Agreement”), pursuant to which, on the terms and subject to the conditions set forth therein,
Holdco and J&J agreed that (a) Holdco would be the primary obligor under the 2021 Funding
Agreement, (b) upon the request of Holdco, J&J would make revolving credit loans to Holdco,
with the proceeds of such loans to be used by Holdco solely to satisfy its obligations under the
2021 Funding Agreement, and (c) if Holdco failed to make any payment to the Company
required by the 2021 Funding Agreement and instead J&J made such payment under the 2021
Funding Agreement, Holdco would reimburse J&J for such payment and any amount not so
reimbursed by Holdco would be deemed to be financed with a loan from J&J to Holdco and
Holdco’s obligation to make such reimbursement would be discharged and replaced by such
loan;


NAI-1536292414
Case 23-12825-MBK         Doc 1    Filed 04/04/23 Entered 04/04/23 16:00:03            Desc Main
                                  Document     Page 10 of 24



       WHEREAS, Old JJCI implemented the 2021 Corporate Restructuring and the Company,
Holdco and J&J entered into the related 2021 Funding Agreement and 2021 Commitment and
Loan Agreement with the primary purpose of facilitating a full, permanent, efficient and
equitable resolution of all current and future talc claims against the Company through a
chapter 11 bankruptcy case filed by the Company;

       WHEREAS, on October 14, 2021, the Company filed a petition for relief under
chapter 11 of the Bankruptcy Code, thereby commencing a chapter 11 bankruptcy case (the
“2021 Bankruptcy Case”);

        WHEREAS, it is anticipated that, at any time, the 2021 Bankruptcy Case will be
dismissed at the direction of the United States Court of Appeals for the Third Circuit (the “Third
Circuit”), which determined that “[b]ecause [the Company] was not in financial distress” at the
time of its bankruptcy filing, “it cannot show its petition served a valid bankruptcy purpose and
was filed in good faith under [Bankruptcy] Code § 1112(b)” (LTL Mgmt., LLC v. Those Parties
Listed on App’x A to Compl. (In re LTL Mgmt., LLC), 58 F.4th 738, 763 (3d Cir. 2023));

        WHEREAS, the Third Circuit focused in particular on the Company’s financial condition
just prior to the bankruptcy filing and observed that the Company’s “most important” asset was
its “rights as a payee under the [2021] Funding Agreement with J&J and [Holdco],” which “gave
[the Company] direct access to J&J’s exceptionally strong balance sheet” (Id. at 749, 759);

       WHEREAS, since the Third Circuit’s ruling directing dismissal of the 2021 Bankruptcy
Case, attorneys for thousands of talc claimants (collectively, the “Supporting Talc Claimant
Counsel”) have executed and delivered Plan Support Agreements in the form presented to the
Board that support confirmation and consummation of a plan of reorganization with specified
terms (collectively, the “Plan Support Agreements”);

      WHEREAS, the Plan Support Agreements remain subject to the required corporate
approvals of, and execution and delivery by, each of the Company, Holdco and J&J;

        WHEREAS, (1) the board of managers of the Company (the “Board”) has (a) carefully
reviewed the materials and other information presented by the management and the advisors of
the Company regarding the Plan Support Agreements and (b) conferred with the Company’s
management and advisors regarding these matters, (2) the material facts as to relationships of
officers and managers of the Company with Holdco and J&J and as to each of the Plan Support
Agreements have been disclosed to or are otherwise known by the Board, and at least one
member of the Board currently has no relationships with Holdco or J&J, and (3) the Board has
unanimously determined that the Company’s entry into each of the Plan Support Agreements
promptly following the dismissal of the 2021 Bankruptcy Case is in the best interests of the
Company and its stakeholders, and Holdco and J&J are willing to approve, execute and deliver
each of the Plan Support Agreements;

       WHEREAS, in addition, the Board has (1) carefully reviewed the materials and other
information presented by the management and the advisors of the Company regarding the
Company’s talc related liabilities and other relevant information, (2) thoroughly evaluated the
Company’s strategic alternatives, including the possibility of another bankruptcy filing,

                                                2
NAI-1536292414
Case 23-12825-MBK        Doc 1    Filed 04/04/23 Entered 04/04/23 16:00:03           Desc Main
                                 Document     Page 11 of 24



(3) conferred with the Company’s management and advisors regarding these matters, and
(4) unanimously determined that the filing of another voluntary petition for relief under
chapter 11 of the Bankruptcy Code by the Company promptly following the dismissal of the
2021 Bankruptcy Case is in the best interests of the Company and its stakeholders, and Holdco
and J&J continue to support the Company’s fundamental goal of obtaining a full, permanent and
equitable resolution of all current and future talc claims in bankruptcy;

        WHEREAS, the Third Circuit’s dismissal decision had the effect of defeating the primary
purpose of the 2021 Funding Agreement and the 2021 Commitment and Loan Agreement; rather
than facilitating a bankruptcy resolution of the Company’s current and future talc claims, the
funding arrangements set forth in these agreements were viewed by the Third Circuit as
foreclosing such resolution; and, as a result, there is a material risk that the 2021 Funding
Agreement and 2021 Commitment and Loan Agreement were rendered void or voidable by that
ruling and other developments in the 2021 Bankruptcy Case that were not reasonably foreseeable
by the Company, Holdco and J&J;

        WHEREAS, to eliminate that risk and secure funding consistent with the plan terms
specified in the Plan Support Agreements and supported by the Supporting Talc Claimant
Counsel, the Company proposes, promptly following the dismissal of the 2021 Bankruptcy Case,
to terminate the funding arrangements set forth in the 2021 Funding Agreement and 2021
Commitment and Loan Agreement and, in substitution therefor, enter into new agreements with
Holdco and J&J, the terms of which will, among other things, (1) address the guidance provided
by the Third Circuit in its dismissal opinion, (2) facilitate confirmation and consummation of a
plan of reorganization for the Company containing the terms supported by thousands of talc
claimants represented by the Supporting Talc Claimant Counsel who have executed and
delivered the Plan Support Agreements, and (3) not adversely affect the interests of talc
claimants, and Holdco and J&J have agreed to do so;

        WHEREAS, more specifically, the Company proposes, promptly following the dismissal
of the 2021 Bankruptcy Case, to enter into a Termination and Substitution Agreement with
Holdco and J&J in the form presented to the Board (the “Termination and Substitution
Agreement”), pursuant to which the 2021 Funding Agreement and the 2021 Commitment and
Loan Agreement will be terminated and (2) in substitution therefor, the Company, Holdco and
J&J will agree to enter into new agreements, the terms of which will, among other things,
(1) address the Third Circuit’s guidance, (2) facilitate confirmation and consummation of a plan
of reorganization with terms supported by thousands of talc claimants represented by the
Supporting Talc Claimant Counsel who have executed and delivered the Plan Support
Agreements, and (3) not harm talc claimants;

        WHEREAS, as contemplated by the Termination and Substitution Agreement, the
Company proposes, promptly following the dismissal of the 2021 Bankruptcy Case, to enter into
a new Funding Agreement with Holdco in the form attached as Exhibit A to the Termination and
Substitution Agreement presented to the Board (the “New Funding Agreement”), pursuant to
which, on the terms and subject to the conditions set forth therein, Holdco will provide funding
to the Company both (1) when there is no proceeding under the Bankruptcy Code pending with
respect to the Company and (2) during the pendency of any voluntary case under chapter 11 of
the Bankruptcy Code commenced by the Company;

                                               3
NAI-1536292414
Case 23-12825-MBK         Doc 1    Filed 04/04/23 Entered 04/04/23 16:00:03             Desc Main
                                  Document     Page 12 of 24



        WHEREAS, as contemplated by the Termination and Substitution Agreement, the
Company proposes, promptly following the dismissal of the 2021 Bankruptcy Case, to enter into
a Support Agreement with Holdco and J&J in the form attached as Exhibit B to the Termination
and Substitution Agreement presented to the Board (the “Support Agreement”), pursuant to
which, on the terms and subject to the conditions set forth therein, and further subject to approval
of the Support Agreement by the applicable bankruptcy court, (1) solely in connection with a
voluntary case under chapter 11 of the Bankruptcy Code to be commenced by the Company and
only if Holdco fails to make any payment to provide funding for one or more trusts created
pursuant to a plan of reorganization for the Company that is confirmed in such case as required
by the New Funding Agreement, J&J will make such payment to the Company on Holdco’s
behalf, (2) Holdco will be obligated to reimburse J&J for any such payment and any amount not
so reimbursed by Holdco will be deemed to be financed with a loan from J&J to Holdco
thereunder, and Holdco’s obligation to make such reimbursement would be discharged and
replaced by such loan, and (3) the Company will have the right to enforce the obligation of J&J;
and

        WHEREAS, (1) the Board has (a) carefully reviewed the materials and other information
presented by the management and the advisors of the Company regarding the 2021 Funding
Agreement, the 2021 Commitment and Loan Agreement, the Termination and Substitution
Agreement, the New Funding Agreement and the Support Agreement and (b) conferred with the
Company’s management and advisors regarding these matters, (2) the material facts as to
relationships of officers and managers of the Company with Holdco and J&J and as to each of
the Termination and Substitution Agreement, the New Funding Agreement and the Support
Agreement have been disclosed to or are otherwise known by the Board, and at least one
member of the Board currently has no relationships with Holdco or J&J, and (3) the Board has
unanimously determined that the Company’s entry into each of the Termination and Substitution
Agreement, the New Funding Agreement and the Support Agreement promptly following the
dismissal of the 2021 Bankruptcy Case is in the best interests of the Company and its
stakeholders, and Holdco and J&J are willing to enter into each of the Termination and
Substitution Agreement, the New Funding Agreement and the Support Agreement with the
Company.

Plan Support Agreements

        RESOLVED, that each of the Plan Support Agreements, and the terms and provisions
thereof and transactions contemplated thereby, be, and each of them hereby is, approved by the
Board in all respects; and

       FURTHER RESOLVED, that the Authorized Persons be, and each of them hereby is,
authorized and directed, promptly following the dismissal of the 2021 Chapter 11 Case, to
execute, deliver and perform each of the Plan Support Agreements in the name and on behalf of
the Company.




                                                 4
NAI-1536292414
Case 23-12825-MBK         Doc 1    Filed 04/04/23 Entered 04/04/23 16:00:03               Desc Main
                                  Document     Page 13 of 24



Chapter 11 Filing

        Filing

        NOW, THEREFORE, BE IT RESOLVED, that in the judgment of the Board, it is
desirable and in the best interests of the Company, its creditors and other interested parties that,
promptly following the dismissal of the 2021 Chapter 11 Case, the execution and delivery of
each of the Plan Support Agreements and each of the Termination and Substitution Agreement,
the New Funding Agreement and the Support Agreement by the Company and the other parties
thereto, the Company seek relief under the Bankruptcy Code;

        FURTHER RESOLVED, that the Company be, and it hereby is, authorized and directed,
promptly following the dismissal of the 2021 Chapter 11 Case and the execution and delivery of
each of the Plan Support Agreements and each of the Termination and Substitution Agreement,
the New Funding Agreement and the Support Agreement by the Company and the other parties
thereto, to file a voluntary petition (the “Petition”) for relief under chapter 11 of the Bankruptcy
Code (the “New Chapter 11 Case”) in the United States Bankruptcy Court for the District of
New Jersey (the “Bankruptcy Court”) and perform any and all such other acts as the officers of
the Company (collectively, the “Authorized Persons”), or any of them, may determine to be
necessary, desirable or appropriate to effect any of the foregoing, with the filing of such Petition
or performance of such other act to be conclusive evidence of such determination; and

         FURTHER RESOLVED, that the Authorized Persons be, and each of them hereby is,
authorized, directed and empowered, in the name and on behalf of the Company, to: (1) execute,
acknowledge, deliver and verify, and cause to be filed with the Bankruptcy Court, the Petition
and all other ancillary documents, with each in such form, as any Authorized Person may
determine to be necessary, desirable or appropriate to carry out the intent and accomplish the
purposes of these resolutions; (2) execute, acknowledge, deliver, verify and file, or cause to be
filed, all petitions, schedules, statements, lists, motions, complaints, declarations, applications,
notices and other papers or documents, with each in such form, as any Authorized Person may
determine to be necessary, desirable or appropriate in connection with the foregoing; and
(3) execute, acknowledge, deliver and verify any and all other documents, with each in such
form, as any Authorized Person may determine to be necessary, desirable or appropriate in
connection therewith and to administer the New Chapter 11 Case, including by executing,
acknowledging, delivering, verifying and filing, or causing to be filed, such petitions, schedules,
statements, lists, motions, complaints, declarations, applications, notices and other papers or
documents as may be determined to be necessary, desirable or appropriate in connection with the
New Chapter 11 Case; all with the taking of any such action, including any such execution,
acknowledgment, delivery, verification or filing, to be conclusive evidence of such
determination.

        Retention of Professionals

        RESOLVED, that the Authorized Persons be, and each of them hereby is, authorized,
directed and empowered, in the name and on behalf of the Company, to retain (1) Jones Day,
(2) Wollmuth Maher & Deutsch LLP, (3) King & Spalding LLP, (4) Shook, Hardy & Bacon
L.L.P., (5) McCarter & English, LLP, (6) Weil, Gotshal & Manges LLP, (7) Skadden, Arps,

                                                  5
NAI-1536292414
Case 23-12825-MBK         Doc 1    Filed 04/04/23 Entered 04/04/23 16:00:03             Desc Main
                                  Document     Page 14 of 24



Slate, Meagher & Flom LLP, (8) Bates White, LLC, (9) AlixPartners, LLP and (10) such
additional professionals, including attorneys, accountants, financial advisors, actuaries,
consultants or agents (together with the foregoing identified firms, the “Professionals”), as any
Authorized Person may determine to be necessary, desirable or appropriate in connection with
the New Chapter 11 Case and other related matters, and to execute, deliver and perform retention
agreements with the Professionals in such form and reflecting such terms as any Authorized
Person may approve, all with the retention of any Professional to be conclusive evidence of such
determination and approval; and

        FURTHER RESOLVED, that the law firms of Jones Day and Wollmuth Maher &
Deutsch LLP and any additional special or local counsel selected by any Authorized Persons be,
and each of them hereby is, authorized, directed and empowered to represent the Company, as
debtor and debtor in possession, in connection with any chapter 11 case commenced by or
against the Company under the Bankruptcy Code, including the New Chapter 11 Case.

Modification of Funding Arrangements

      RESOLVED, that the Termination and Substitution Agreement, the New Funding
Agreement and the Support Agreement, and the terms and provisions thereof and transactions
contemplated thereby, be, and each of them hereby is, approved by the Board in all respects; and

        FURTHER RESOLVED, that the Authorized Persons be, and each of them hereby is,
directed, promptly following the dismissal of the 2021 Chapter 11 Case, to execute, deliver and
perform each of the Termination and Substitution Agreement, the New Funding Agreement and
the Support Agreement in the name and on behalf of the Company.

General Authority

        RESOLVED, that the Authorized Persons be, and each of them hereby is, authorized and
empowered to execute and deliver such additional agreements, instruments and documents, and
to take such other actions (including the payment of costs and expenses), in the name and on
behalf of the Company, in each case, as any Authorized Person may determine to be necessary,
desirable or appropriate to implement the purposes and intent of the foregoing resolutions, with
the execution and delivery of any such agreement, instrument or document or taking of any such
action by any Authorized Person to be conclusive evidence of such determination;

        FURTHER RESOLVED, that the Authorized Persons be, and each of them hereby is,
authorized and empowered to certify and furnish to any person or entity such copies of the
resolutions set forth herein, and to certify to any person or entity that the resolutions set forth
herein have been duly adopted by the Board, are in full force and effect and are in conformity
with the Articles of Organization and Conversion of the Company and the Operating Agreement
of the Company, as any Authorized Person may determine to be necessary, desirable or
appropriate to implement the purposes and intent of the foregoing resolutions, with the
certification and furnishing of such copies or the certification of such matters to be conclusive
evidence of such determination; and

        FURTHER RESOLVED, that, in the event that any Authorized Person determines a
specific form of resolutions is necessary or advisable in connection with the implementation of
                                                 6
NAI-1536292414
Case 23-12825-MBK         Doc 1    Filed 04/04/23 Entered 04/04/23 16:00:03           Desc Main
                                  Document     Page 15 of 24



the purposes and intent of the foregoing resolutions, resolutions in such form be, and they hereby
are, adopted by the Board as if such resolutions were expressly set forth herein and that any
Authorized Person be, and each of them hereby is, authorized and empowered to certify and
furnish to any person or entity copies of such resolutions, and to certify to any person or entity
that such resolutions have been duly adopted by the Board, are in full force and effect and are in
conformity with the Articles of Organization and Conversion of the Company and the Operating
Agreement of the Company, with the certification and furnishing of such copies or the
certification of such matters to be conclusive evidence of such determination.

Ratification

       RESOLVED, that all actions taken in the name and on behalf of the Company prior to the
adoption of these resolutions that would have been authorized by the foregoing resolutions had
they been taken after the adoption of these resolutions be, and each of them hereby is, approved,
adopted, ratified and confirmed in all respects.




                                                7
NAI-1536292414
Case 23-12825-MBK                 Doc 1     Filed 04/04/23 Entered 04/04/23 16:00:03                       Desc Main
                                           Document     Page 16 of 24



    UNITED STATES BANKRUPTCY COURT
    DISTRICT OF NEW JERSEY

    WOLLMUTH MAHER & DEUTSCH LLP
    Paul R. DeFilippo, Esq.
    500 Fifth Avenue
    New York, New York 10110
    Telephone: (212) 382-3300
    Facsimile: (212) 382-0050
    pdefilippo@wmd-law.com

    JONES DAY
    Gregory M. Gordon, Esq.
    Brad B. Erens, Esq.
    Dan B. Prieto, Esq.
    Amanda Rush, Esq.
    2727 N. Harwood Street
    Dallas, Texas 75201
    Telephone: (214) 220-3939
    Facsimile: (214) 969-5100
    gmgordon@jonesday.com
    bberens@jonesday.com
    dbprieto@jonesday.com
    asrush@jonesday.com
    (Admissions pro hac vice pending)

    PROPOSED ATTORNEYS FOR DEBTOR
    In re:                                                          Chapter 11

    LTL MANAGEMENT LLC,1                                            Case No.: 23-_____ (___)

                                Debtor.                             Judge:


                                 CORPORATE OWNERSHIP STATEMENT

                                            LTL MANAGEMENT LLC

Check one: X DEBTOR ___ PLAINTIFF ___ DEFENDANT ___ OTHER (specify):

Instructions: Federal Rule of Bankruptcy Procedure 7007.1 requires corporate parties to an
adversary proceeding, other than the debtor or a governmental unit, to file a statement of
corporate ownership with the first pleading filed. Similarly, Federal Rule of Bankruptcy Procedure
1007(a)(1) requires corporate debtors to file a corporate ownership statement with their petitions
containing the information described in Rule 7007.1. Check one of the statements set forth below
and provide any information as directed.


1            The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is
             501 George Street, New Brunswick, New Jersey 08933.


NAI-1535643618
Case 23-12825-MBK              Doc 1     Filed 04/04/23 Entered 04/04/23 16:00:03            Desc Main
                                        Document     Page 17 of 24



     1. The following corporations directly or indirectly own 10% or more of any class of the
         above named corporate debtor’s/party’s equity interests:2

         DePuy Synthes, Inc.
         700 Orthopaedic Drive
         Warsaw, IN 46582

         Janssen Pharmaceuticals, Inc.
         1125 Trenton-Harbourton Rd.
         Titusville, NJ 08560

         Johnson & Johnson
         One Johnson & Johnson Plaza
         New Brunswick, NJ 08933

         Johnson & Johnson Holdco (NA) Inc.
         One Johnson & Johnson Plaza
         New Brunswick, NJ 08933

         Johnson & Johnson International
         One Johnson & Johnson Plaza
         New Brunswick, NJ 08933

       2. There are no entities that directly or indirectly own 10% or more of any class of the above
          named corporate debtor’s/party’s equity interests.


Date: April 4, 2023
                                              /s/ John K. Kim
                                              Signature of Authorized Individual for Corporate
                                              Debtor/Party


                                              John K. Kim
                                              Printed Name of Authorized Individual for Corporate
                                              Debtor/Party

                                              Chief Legal Officer
                                              Title of Authorized Individual for Corporate Debtor/Party




2
         The corporations are listed in alphabetical order.

                                                          -2-
NAI-1535643618
                  Case 23-12825-MBK                   Doc 1       Filed 04/04/23 Entered 04/04/23 16:00:03                                          Desc Main
                                                                 Document     Page 18 of 24

        Fill in this information to identify the case:
        Debtor name: LTL Management LLC
        United States Bankruptcy Court for the District of New Jersey
        Case Number (if known):
                                                                                                                                                        Check if this is an
                                                                                                                                                            amended filing
Chapter 11 Case: List of Law Firms with Significant Talc Claims Against the
                 Debtor
The following is an alphabetical list of the law firms with the most significant representations of parties with talc claims against LTL Management LLC, as debtor
(the “Debtor”), based on the volume of claims or related factors (the “Top Talc Counsel List”). Concurrently with this petition, the Debtor has filed a motion
seeking authority to file this Top Talc Counsel List in lieu of a list of the 20 largest unsecured creditors.1 This list does not include any person or entity who is an
“insider” under section 101(31) of title 11 of the United States Code. The Top Talc Counsel List was prepared with information existing as of the date hereof. The
Debtor reserves the right to amend the Top Talc Counsel List based on additional information it may identify. The information contained in the Top Talc Counsel
List shall not constitute an admission by, nor shall it be binding on, the Debtor.


          Name of law firm and complete mailing    Name, telephone number, and         Nature of the claim   Indicate if claim   Amount of unsecured claim
          address, including zip code              email address of law firm contact   (for example, trade   is contingent,      If the claim is fully unsecured, fill in only unsecured
                                                                                       debts, bank loans,    unliquidated, or    claim amount. If claim is partially secured, fill in
                                                                                       professional          disputed            total claim amount and deduction for value of
                                                                                       services, and                             collateral or setoff to calculate unsecured claim.
                                                                                       government
                                                                                       contracts)

                                                                                                                                 Total claim, if Deduction for        Unsecured claim
                                                                                                                                 partially       value of
                                                                                                                                 secured         collateral or
                                                                                                                                                 setoff
    1      Arnold & Itkin LLP                     Kurt Arnold, Caj Boatright, Talc Personal                  Disputed/    N/A                    N/A                  Unliquidated
           1401 McKinney St., Ste. 2250           Roland Christensen, Jason   Injury                         Contingent/
           Houston, TX 77010                      Itkin                                                      Unliquidated
                                                  (713) 222-3800
                                                  E-mail:
                                                  cboatright@arnolditkin.com
                                                  christensen@arnolditkin.com
                                                  jitkin@arnolditkin.com
    2      Aylstock, Witkin, Kreis &              Mary Putnick, Daniel        Talc Personal                  Disputed/    N/A                    N/A                  Unliquidated
           Overholtz, PLLC                        Thornburgh                  Injury                         Contingent/
           17 East Main St., Ste. 200             (850) 916-7450                                             Unliquidated
           PO Box 12630                           E-mail:
           Pensacola, FL 32502                    marybeth@putnicklegal.com
                                                  Dthornburgh@awkolaw.com
    3      Beasley Allen Law Firm                 Charlie Stern               Talc Personal                  Disputed/    N/A                    N/A                  Unliquidated
           218 Commerce Street                    (334) 269-2343              Injury                         Contingent/
           Montgomery, AL 36104                   E-mail:                                                    Unliquidated
                                                  charlie.stern@beasleyallen.com
    4      Childers, Schlueter &            Richard Schlueter                          Talc Personal         Disputed/    N/A                    N/A                  Unliquidated
           Smith LLC                        (404) 419-9500                             Injury                Contingent/
           1932 N Druid Hills Rd., Ste. 100 E-mail:                                                          Unliquidated
           Atlanta, GA 30319                rschlueter@cssfirm.com
    5      Ferrer, Poirot & Wansbrough      Jesse Ferrer                               Talc Personal         Disputed/    N/A                    N/A                  Unliquidated
           2603 Oak Lawn Ave. #300          Christina Feller                           Injury                Contingent/
           Dallas, TX 75219                 (214) 521-4412                                                   Unliquidated
                                            E-mail:
                                            jferrer@lawyerworks.com
                                            cfeller@lawyerworks.com



1
              This list is in substantially the same form as Official Bankruptcy Form 204 for chapter 11 cases setting forth the list of creditors, other
              than insiders, who have the 20 largest unsecured claims against a debtor.
              Case 23-12825-MBK                  Doc 1       Filed 04/04/23 Entered 04/04/23 16:00:03                                          Desc Main
                                                            Document     Page 19 of 24
Debtor Name: LTL Management LLC                                                                              Case Number (if known):
      Name of law firm and complete mailing   Name, telephone number, and         Nature of the claim   Indicate if claim   Amount of unsecured claim
      address, including zip code             email address of law firm contact   (for example, trade   is contingent,      If the claim is fully unsecured, fill in only unsecured
                                                                                  debts, bank loans,    unliquidated, or    claim amount. If claim is partially secured, fill in
                                                                                  professional          disputed            total claim amount and deduction for value of
                                                                                  services, and                             collateral or setoff to calculate unsecured claim.
                                                                                  government
                                                                                  contracts)

                                                                                                                            Total claim, if Deduction for        Unsecured claim
                                                                                                                            partially       value of
                                                                                                                            secured         collateral or
                                                                                                                                            setoff
 6     Johnson Law Group               Blake Tanase, Basil Adham Talc Personal                          Disputed/    N/A                    N/A                  Unliquidated
       2925 Richmond Ave., Ste. 1700 (713) 626-9336               Injury                                Contingent/
       Houston, TX 77098               E-mail:                                                          Unliquidated
                                       BAdham@johnsonlawgroup.
                                       com
 7     McDonald Worley                 Don Worley                 Talc Personal                         Disputed/    N/A                    N/A                  Unliquidated
       1770 St. James Place, Ste. 100 (713) 523-5500              Injury                                Contingent/
       Houston, TX 77056               E-mail:                                                          Unliquidated
                                       don@mcdonaldworley.com
 8     Miller Firm, LLC                Curtis G. Hoke             Talc Personal                         Disputed/    N/A                    N/A                  Unliquidated
       108 Railroad Ave.               (540) 672-4224             Injury                                Contingent/
       Orange, VA 22960                E-mail:                                                          Unliquidated
                                       choke@millermiller.com
 9     Nachawati Law Group             Majed Nachawati            Talc Personal                         Disputed/    N/A                    N/A                  Unliquidated
       5489 Blair Road                 (214) 890-0711             Injury                                Contingent/
       Dallas, TX 75231                E-mail: mn@ntrial.com                                            Unliquidated
 10    Napoli Shkolnik PLLC            James Heisman, Christopher Talc Personal                         Disputed/    N/A                    N/A                  Unliquidated
       919 North Market St., Ste. 1801 LoPalo                     Injury                                Contingent/
       Wilmington, DE 19801            (844) 230-7676                                                   Unliquidated
                                       E-mail:
                                       clopalo@napolibern.com
                                       JHeisman@napliLaw.com
 11    OnderLaw, LLC                   James Onder                Talc Personal                         Disputed/    N/A                    N/A                  Unliquidated
       110 East Lockwood, 2nd Floor (314) 963-9000                Injury                                Contingent/
       St. Louis, MO 63119             E-mail:                                                          Unliquidated
                                       onder@onderlaw.com
 12    Pulaski Kherkher PLLC           Adam Pulaski               Talc Personal                         Disputed/    N/A                    N/A                  Unliquidated
       2925 Richmond Avenue            (713) 664-4555             Injury                                Contingent/
       Suite 1725                      E-mail:                                                          Unliquidated
       Houston, Texas 77098            adam@pulaskilawfirm.com
 13    Robinson Calcagnie              Mark P. Robinson Jr.       Talc Personal                         Disputed/    N/A                    N/A                  Unliquidated
       19 Corporate Plaza Dr.          (949) 720-1288             Injury                                Contingent/
       Newport Beach, CA 92660         E-mail:                                                          Unliquidated
                                       mrobinson@robinsonfirm.co
                                       m
 14    Rueb Stoller Daniel, LLP        Gregory D. Rueb            Talc Personal                         Disputed/    N/A                    N/A                  Unliquidated
       1990 N. California Blvd.        (866) 225-5773             Injury                                Contingent/
       8th Floor                       E-mail:                                                          Unliquidated
       Walnut Creek, CA 94596          greg@lawrsd.com
 15    Sanders, Phillips,              Marc Grossman              Talc Personal                         Disputed/    N/A                    N/A                  Unliquidated
       Grossman, LLC                   (516) 741-5600             Injury                                Contingent/
       100 Garden City Plaza           E-mail:                                                          Unliquidated
       Garden City, NY 11530           mgrossman@thesandersfirm.
                                       com
 16    Trammell PC                     Fletcher V. Trammell       Talc Personal                         Disputed/    N/A                    N/A                  Unliquidated
       3262 Westheimer Rd., Ste. 423 (800) 405-1740               Injury                                Contingent/
       Houston, TX 77098               E-mail:                                                          Unliquidated
                                       fletch@trammellpc.com



Modified Official Form 204                           List of Law Firms with Significant Talc Claims Against the Debtor                                                   Page 2
              Case 23-12825-MBK                   Doc 1       Filed 04/04/23 Entered 04/04/23 16:00:03                                          Desc Main
                                                             Document     Page 20 of 24
Debtor Name: LTL Management LLC                                                                               Case Number (if known):
      Name of law firm and complete mailing    Name, telephone number, and         Nature of the claim   Indicate if claim   Amount of unsecured claim
      address, including zip code              email address of law firm contact   (for example, trade   is contingent,      If the claim is fully unsecured, fill in only unsecured
                                                                                   debts, bank loans,    unliquidated, or    claim amount. If claim is partially secured, fill in
                                                                                   professional          disputed            total claim amount and deduction for value of
                                                                                   services, and                             collateral or setoff to calculate unsecured claim.
                                                                                   government
                                                                                   contracts)

                                                                                                                             Total claim, if Deduction for        Unsecured claim
                                                                                                                             partially       value of
                                                                                                                             secured         collateral or
                                                                                                                                             setoff
 17    Wagstaff Law Firm                      Aimee Wagstaff             Talc Personal                   Disputed/    N/A                    N/A                  Unliquidated
       940 N. Lincoln Street                  (303) 376-6360             Injury                          Contingent/
       Denver, CO 80203                       E-mail:                                                    Unliquidated
                                              awagstaff@wagstafflawfirm.
                                              com
 18    Watts Guerra LLP                       Mikal Watts                Talc Personal                   Disputed/    N/A                    N/A                  Unliquidated
       4 Dominion Dr.                         (210) 447-0500             Injury                          Contingent/
       Bld 3, Suite 100                       E-mail:                                                    Unliquidated
       San Antonio, TX 78257                  mcwatts@wattsguerra.com




Modified Official Form 204                            List of Law Firms with Significant Talc Claims Against the Debtor                                                   Page 3
         Case 23-12825-MBK                    Doc 1      Filed 04/04/23 Entered 04/04/23 16:00:03                               Desc Main
                                                        Document     Page 21 of 24
 Fill in this information to identify the case and this filing:


                LTL Management LLC
 Debtor Name __________________________________________________________________

                                                                            New Jersey
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


          Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
          Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
          Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
          Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
          Schedule H: Codebtors (Official Form 206H)
          Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
          Amended Schedule ____

          Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

          Other document that requires a declaration__________________________________________________________________________________
                                                      List of Law Firms With Significant Talc Claims Against the Debtor



        I declare under penalty of perjury that the foregoing is true and correct.


                    04/04/2023
        Executed on _____________                          8 /s/ John K. Kim
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                 John K. Kim
                                                                ________________________________________________________________________
                                                                Printed name

                                                                Chief Legal Officer
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
Case 23-12825-MBK                 Doc 1     Filed 04/04/23 Entered 04/04/23 16:00:03                       Desc Main
                                           Document     Page 22 of 24



    UNITED STATES BANKRUPTCY COURT
    DISTRICT OF NEW JERSEY

    WOLLMUTH MAHER & DEUTSCH LLP
    Paul R. DeFilippo, Esq.
    500 Fifth Avenue
    New York, New York 10110
    Telephone: (212) 382-3300
    Facsimile: (212) 382-0050
    pdefilippo@wmd-law.com

    JONES DAY
    Gregory M. Gordon, Esq.
    Brad B. Erens, Esq.
    Dan B. Prieto, Esq.
    Amanda Rush, Esq.
    2727 N. Harwood Street
    Dallas, Texas 75201
    Telephone: (214) 220-3939
    Facsimile: (214) 969-5100
    gmgordon@jonesday.com
    bberens@jonesday.com
    dbprieto@jonesday.com
    asrush@jonesday.com
    (Admissions pro hac vice pending)

    PROPOSED ATTORNEYS FOR DEBTOR

    In re:                                                          Chapter 11

    LTL MANAGEMENT LLC,1                                            Case No.: 23-_____ (___)

                                Debtor.                             Judge:



                                          MASTER CREDITORS LIST

                 LTL Management LLC, as debtor in the above-captioned chapter 11 case
(the “Debtor”), filed a petition in this Court on the date hereof for relief under chapter 11 of
title 11 of the United States Code (the “Voluntary Petition”). In accordance with Rule 1007(a) of
the Federal Rules of Bankruptcy Procedure, the Debtor filed concurrently herewith a matrix of
the names and addresses of creditors, potential creditors and other parties in interest (the “Master
Creditors List”). The Master Creditors List has been prepared from the books and records of the
Debtor or its predecessor, and contains only those parties whose names and addresses were

1
             The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is
             501 George Street, New Brunswick, New Jersey 08933.


NAI-1535643661
Case 23-12825-MBK          Doc 1    Filed 04/04/23 Entered 04/04/23 16:00:03               Desc Main
                                   Document     Page 23 of 24



maintained in the databases of the Debtor or its predecessor or were otherwise readily
ascertainable by the Debtor prior to the commencement of this chapter 11 case. The Debtor will
update the Master Creditors List as more information becomes available.

                Contemporaneously with the filing of the Voluntary Petition, the Debtor filed a
motion (the “Motion”) requesting, among other things, authority to serve all notices, mailings or
other documents required to be provided to creditors who are claimants in talc-related lawsuits or
other proceedings involving the Debtor, or who have similar claims asserted through counsel
(collectively, the “Talc Claimants”), on the Talc Claimants in care of their counsel at such
counsel’s address in lieu of service on the individual Talc Claimants at their personal addresses.
Accordingly, the Master Creditors List includes the addresses of counsel for each of the Talc
Claimants rather than the addresses of each individual Talc Claimant.

                 Certain of the creditors listed on the Master Creditors List may not hold
outstanding claims against the Debtor and therefore may not be creditors in the Debtor’s
bankruptcy case. By filing the Master Creditors List, the Debtor is not acknowledging that any
listed party is a creditor, nor is it waiving or otherwise affecting its right to object to the extent,
validity or enforceability of the claims, if any, held or asserted by the parties listed on the Master
Creditors List.




                                                  -2-
NAI-1535643661
         Case 23-12825-MBK                    Doc 1      Filed 04/04/23 Entered 04/04/23 16:00:03                               Desc Main
                                                        Document     Page 24 of 24
 Fill in this information to identify the case and this filing:


              LTL Management LLC
 Debtor Name __________________________________________________________________

                                                                            New Jersey
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


          Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
          Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
          Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
          Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
          Schedule H: Codebtors (Official Form 206H)
          Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
          Amended Schedule ____

          Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

          Other document that requires a declaration__________________________________________________________________________________
                                                     Master Creditors List




        I declare under penalty of perjury that the foregoing is true and correct.


                    04/04/2023
        Executed on ______________                         8 /s/ John K. Kim
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                 John K. Kim
                                                                ________________________________________________________________________
                                                                Printed name

                                                                Chief Legal Officer
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
